             Case 1:21-mj-00062-ZMF Document 6 Filed 01/28/21 Page 1 of 1



                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      :
                                               :
        v.                                     : CASE NO. 21-MJ-62 (ZMF)
                                               :
 JENNIFER RYAN,                                :
      Defendant.                               :

                           NOTICE TO WITHDRAW INFORMATION

       The United States of America makes this filing to withdraw the Information filed in this matter

on January 19, 2021. The government will file an amended Information with the Court shortly to

replace this withdrawn Information.

                                      Respectfully submitted,

                                      MICHAEL SHERWIN
                                      ACTING UNITED STATES ATTORNEY

                                         /s/
                                      KIMBERLY L. PASCHALL
                                      Assistant United States Attorney
                                      D.C. Bar 1015665
                                      U.S. Attorney’s Office
                                      555 4th Street, N.W., Room 4116
                                      Washington, D.C. 20530
                                      202-252-2650
                                      Kimberly.Paschall@usdoj.gov
